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                           UNITED STATES BANKRUPTCY COURT
                                      DISTRICT 1


In re:                                                      Case No. 16-00763-EAG
         LIZ MAGALY RODRIGUEZ LUGO

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        ALEJANDRO OLIVERAS RIVERA, chapter 13 trustee, submits the following Final
Report and Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The
trustee declares as follows:

         1) The case was filed on 02/02/2016.

         2) The plan was confirmed on 06/21/2016.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 12/06/2019.

         5) The case was dismissed on 01/14/2020.

         6) Number of months from filing to last payment: 38.

         7) Number of months case was pending: 48.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $5,409.42.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor            $20,830.00
       Less amount refunded to debtor                           $0.00

NET RECEIPTS:                                                                                 $20,830.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                              $2,135.00
    Court Costs                                                            $0.00
    Trustee Expenses & Compensation                                    $1,679.20
    Other                                                                  $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                               $3,814.20

Attorney fees paid and disclosed by debtor:               $865.00


Scheduled Creditors:
Creditor                                    Claim         Claim            Claim        Principal      Int.
Name                             Class    Scheduled      Asserted         Allowed         Paid         Paid
MIDLAND CREDIT MANAGEMENT IN Unsecured       4,772.00           0.00         4,697.45           0.00       0.00
MIDLAND CREDIT MANAGEMENT IN Unsecured          584.00          0.00           584.33           0.00       0.00
USDA RURAL HOUSING SERVICE   Secured        28,026.00           0.00       33,362.16      17,015.80        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                     $0.00              $0.00              $0.00
       Debt Secured by Vehicle                                $0.00              $0.00              $0.00
       All Other Secured                                 $33,362.16         $17,015.80              $0.00
 TOTAL SECURED:                                          $33,362.16         $17,015.80              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                              $5,281.78               $0.00             $0.00


Disbursements:

         Expenses of Administration                             $3,814.20
         Disbursements to Creditors                            $17,015.80

TOTAL DISBURSEMENTS :                                                                      $20,830.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 02/03/2020                             By:/s/ ALEJANDRO OLIVERAS RIVERA
                                                                Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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16-00763-EAG                                             CERTIFICATE OF MAILING

The undersigned hereby certifies that a true copy of the foregoing document was mailed by first class mail
or electronically sent to the parties listed below:

LIZ MAGALY RODRIGUEZ LUGO
URB LA QUINTA 161
C-4
SABANA GRANDE, PR 00637

CLARO
PO BOX 70366
SAN JUAN, PR 00936-8366

SYNCHRONY BANK-BERRIOS
P.O. BOX 965036
ORLANDO, FL 32896

USDA RURAL DEVELOPMENT
PO BOX 790170
ST LOUIS, MO 63179-0170

LIRIO DEL MAR TORRES
P O BOX 3552
MAYAGUEZ, PR 00681

LIRIO TORRES*
PO BOX 3552
MAYAGUEZ, PR 00681-3552

USDA RURAL HOUSING SERVICE
CENTRALIZED SERVICING CENTER USDA
PO BOX 66879
ST LOUIS, MO 63166

MIDLAND CREDIT MANAGEMENT INC
AS AGENT FOR MIDLAND FUNDING LLC
PO BOX 2011
WARREN, MI 48090

USDA RURAL HOUSING SERVICE
CENTRALIZED SERVICING CENTER
PO BOX 790190
ST LOUIS, MO 63179-0190

                                                     /S/Luis R Gomez
DATED: February 03, 2020                             OFFICE OF THE CHAPTER 13 TRUSTEE




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